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                                                                                            2019 Oct-24 AM 09:56
                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

JILL KILEY, MARCUS PAYNE,                     )
BRITTNEY RELLIFORD,                           )
BABATUDE OLASEINDE and                        )
ROBERT FARLEY,                                )
individually and on behalf of all             )       Civil Action No. 2:17-cv-01756-RDP
others similarly situated,                    )
                                              )
                               Plaintiffs,    )
                                              )
        v.                                    )
                                              )
MEDFIRST CONSULTING, LLC,                     )
                                              )
                        Defendant.            )
________________________________              )


              PLAINTIFFS’ RENEWED MOTION TO AMEND COMPLAINT

   I.        INTRODUCTION

        Plaintiffs Jill Kiley and Marcus Payne, Brittney Relliford, Babatude Olaseinde and Robert

Farley hereby submit their renewed motion to amend the Complaint in this case to add Brian Smith

as a Defendant. As previously disclosed to the Court in the October 15, 2019 Joint Status Report

(Dkt. 217), the Parties participated in an in-person mediation before mediator Fern Singer in

Birmingham, Alabama on September 24, 2019, and despite subsequent settlement discussions,

have been unable to resolve the claims in this litigation.

        Following this unsuccessful settlement process, Plaintiffs’ Counsel have recently been

informed by several Opt-in Plaintiffs that MedFirst has ceased operations. See Declaration of

Olena Savytska (“Savytska Decl.”) ¶ 2.         On October 22, 2019, Plaintiffs’ Counsel sought

confirmation of this information and to meet and confer on this issue with counsel for MedFirst.

Id. ¶ 3. MedFirst’s counsel declined to answer the question directly, and provided an evasive

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response. Id. Although MedFirst may have now closed its doors, Mr. Smith, its President

and CEO, boasts of having several other lucrative businesses on his LinkedIn profile. Id. ¶ 4; Ex.

2. Now more than ever, it is imperative to add Mr. Smith as a Defendant in order to protect the

claims of Plaintiffs and the Opt-In Plaintiffs in this case.

       Plaintiffs previously moved the Court to add Mr. Smith as a defendant in his individual

capacity on July 20. 2019. Dkt. 203. As explained in that original motion, Plaintiffs were seeking

to add Mr. Smith as a Defendant in order to preserve Plaintiffs’ and the Opt-In Plaintiffs’ claims

in this case, and were doing so in response to MedFirst’s counsel informing Plaintiffs’ Counsel

that MedFirst did not have the financial capacity to fund a settlement after having unilaterally

cancelled the mediation.

       The Court subsequently set a status conference on August 13, 2019. Dkt. 204. At the

conference, the Court encouraged the parties to once again set a mediation date; ordered MedFirst

to provide Plaintiffs’ Counsel with financial data; and denied Plaintiffs’ Motion to Amend without

prejudice. Dkt 212. MedFirst did provide certain financial data, which Plaintiffs’ Counsel

analyzed, and the Parties subsequently agreed to schedule a new meditation session with Fern

Singer, and the meditation session took place on September 24, 2019. See Dkts. 215, 217. As

described above, the Parties continued settlement discussions, with the mediator’s assistance,

through the week of October 6th, but were unable to reach a resolution. Dkt. 217.

       Plaintiffs now renew their motion to amend their Complaint to add claims against Brian

Smith, the President and CEO of MedFirst Consulting Healthcare Staffing, LLC. The concerns

that prompted Plaintiffs’ original motion – namely, MedFirst’s ability to fund a potential

settlement – remain. In addition, as mentioned above, there is now a very real possibility that

Defendant MedFirst has ceased operations altogether. In order to protect their claims as well as



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those of the Opt-in Plaintiffs, Plaintiffs seek to add claims against Mr. Smith. The interests of

justice favor granting Plaintiffs’ request. This case is still at a fairly early stage, with only written

discovery having been completed, and any further written discovery needed after the addition of

Mr. Smith as a Defendant would be minimal. Nor should the addition of MedFirst’s President and

CEO come as a surprise, since he is a key figure in this case, and countersigned all the independent

contractor agreements with Plaintiffs and Opt-in Plaintiffs. In sum, Plaintiffs’ request is timely,

and will not cause undue delay or prejudice to the Defendant.

          In addition, Plaintiffs’ request to amend the Complaint is proper under Rule 16(b).1 Rule

16(b), which governs scheduling orders, provides that such an order “may be modified upon a

showing of ‘good cause[.]’” Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 608 (9th Cir.

1992) (quoting Fed. R. Civ. P. 16(b)). Specifically, the “district court may modify the pretrial

schedule ‘if it cannot reasonably be met despite the diligence of the party seeking the extension.’”

Id. at 609 (quoting Fed. R. Civ. P. 16 advisory committee's notes (1983 amendment)). In this case,

good cause exists to grant the Plaintiffs’ proposed amendment because they only learned of

MedFirst’s financial condition a few months ago, in July, and sought amendment immediately

thereafter. Plaintiffs now seek to renew their motion promptly after the Parties’ second attempt at

mediation proved unsuccessful, and upon learning that MedFirst may have now ceased operations

altogether.

    II.       PROCEDURAL BACKGROUND

          Plaintiffs originally filed this case in the District of Oregon on March 23, 2017. See

Complaint, Dkt. 1. Plaintiffs brought claims for unpaid overtime on behalf of a nationwide FLSA



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 The Court in its Order instructed Plaintiffs to address in their Renewed Motion to Amend the
Rule 16(b) standard for modifying a scheduling order. See Dkt. 212. Plaintiffs do so in their
Renewed Motion.
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collective. This case was transferred to this District on October 17, 2017. Dkt. 59. The Court

entered an order granting conditional certification on February 23, 2018 and notice went out to the

Opt-in Plaintiffs on March 19, 2018. Dkts. 104, 111. More than 300 individuals opted into the

case. Following the close of the opt-in period, the parties engaged in written discovery, with the

named plaintiffs providing full discovery responses and the Opt-in Plaintiffs completing case

information sheets. In May of 2019, in the course of their conferral process, Plaintiffs received

data from Defendant regarding projects worked by Opt-in Plaintiffs during the time period covered

by this case, and presented Defendant with their preliminary damages calculations In June 2019,

the Parties agreed to explore mediation and stay the case for 60 days. Dkt, 201. The Court granted

the parties’ request and the case was stayed on June 10, 2019. Dkt. 202.

       A mediation session was then scheduled to take place in Alabama on July 24, 2019 before

Fern Singer. Days before the mediation session, on July 15, 2019, counsel for MedFirst informed

counsel for Plaintiffs that MedFirst would not go forward with the mediation, and made clear that

MedFirst’s ability to fund a settlement was significantly limited. Plaintiffs filed a motion to amend

the Complaint to add claims against Brian Smith individually. Dkt. 203. After a hearing, the Court

denied Plaintiffs’ Motion without prejudice, and encouraged the Parties to attempt to engage in

mediation again. Dkt 212.

       The Parties participated in a full-day mediation session with Fern Signer on September 24,

2019, and continued discussions with the mediator’s assistance through the week of October 6,

2019, but were unable to resolve the case. See Dkt. 217. Most recently, Plaintiffs’ Counsel received

calls from several Opt-in Plaintiffs this week, informing them that MedFirst has ceased operations.

See Savytska Decl. ¶ 2. Plaintiffs’ Counsel reached out to counsel for MedFirst in an attempt to

verify this information. Id. ¶ 3. Counsel for MedFirst did not provide an answer as to whether



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MedFirst remains in operation. Id. In accordance with the Court’s Order, Plaintiffs now seek

to renew their motion to amend the Complaint.

III.      LEGAL STANDARD

          Federal Rule of Civil Procedure 15(a) provides that leave to amend “shall be freely granted

when justice so requires.” Grounds for a denial of a motion to amend include “undue delay, bad

faith or dilatory motive on the part of the movant, repeated failure to cure deficiencies by

amendments previously allowed, undue prejudice to the opposing party by virtue of allowance of

the amendment, [and] futility of amendment[.]” Foman v. Davis, 371 U.S. 178, 182 (1962). “Th[e]

policy of rule 15(a) in liberally permitting amendments to facilitate determination of claims on the

merits circumscribes the exercise of the district court's discretion; thus, unless a substantial reason

exists to deny leave to amend, the discretion of the district court is not broad enough to permit

denial.” Shipner v. E. Air Lines, Inc., 868 F.2d 401, 407 (11th Cir. 1989).

          Motions which seek to modify an existing scheduling order are governed by Fed. R. Civ.

P. 16(b), which allows a scheduling order to be modified for “good cause.” “‘Good cause’ under

Rule 16(b) focuses on the diligence of the party seeking the modification of the scheduling order.”

Price v. Trans Union, LLC, 737 F. Supp. 2d 276, 279 (E.D. Pa. 2010) (collecting cases). Thus,

“[t]he primary measure of good cause is the movant's diligence in attempting to meet the order’s

requirements.” Rahn v. Hawkins, 464 F.3d 813, 822 (8th Cir. 2006). Furthermore allowing

amendment would promote judicial efficiency, since disallowing amendment would leave

Plaintiffs with no other option except to file a second case against Brian Smith only to protect their

rights.




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IV.    ARGUMENT

       Plaintiffs’ Motion to Amend is made in a timely manner, and will not cause undue delay

or prejudice to the Defendant. Plaintiffs have filed their original Motion immediately after learning

about MedFirst’s financial issues, in order to protect their own claims, as well as those of the Opt-

in Plaintiffs, in the event MedFirst ceases operations or declares bankruptcy. Plaintiffs are now

seeking to renew their Motion shortly after concluding attempts to negotiate a resolution with

MedFirst, and immediately after learning that MedFirst may no longer be in operation. Plaintiffs

and their counsel were not aware that MedFirst may be unable to satisfy a judgement until this

summer, when counsel for MedFirst informed Plaintiffs’ Counsel of the concerns about the

company’s financial condition. Plaintiffs’ Counsel only learned this week of the possibility that

MedFirst may be out of business. Savytska Decl. ¶ 2.

       Plaintiffs’ requested amendment meets the good cause standard under Rule 16(b) –

Plaintiffs were not aware of any issues with MedFirst’s financial condition either at the time they

filed the case, or at the amendment deadline set by the Court (which was more than a year ago).

As soon as Plaintiffs’ Counsel learned of concerns about MedFirst’s financials, they moved to

amend the Complaint to add claims against Mr. Smith as a safeguard for the Plaintiffs’ and op-ins’

claims. Their request to add Mr. Smith as a Defendant has even more urgency now, since it appears

that MedFirst may be out of business altogether.

       In determining whether good cause exists, a court looks to whether Plaintiffs could have

made the amendment sooner, or whether new information has come to light which justifies the late

amendment. Thus for example, the Sixth Circuit found that good cause existed “[g]iven the district

court's view of the tolerance provision as a legal bar to Plaintiff's TILA claim as well the dearth of

authority presented prior to the district court's April 11 dismissal order” and explained that “we do



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not believe Plaintiff failed to act diligently in seeking to file an additional amended pleading

several months after expiration of the deadline in the scheduling order.” Inge v. Rock Fin. Corp.,

281 F.3d 613, 626 (6th Cir. 2002). Similarly, a district court granted a motion to amend under Fed.

R. Civ. P. 16(b) where “[d]efendants do not argue that Plaintiff knew of Hannings' comment prior

to filing the case, was not diligent in her efforts to obtain discovery, or delayed filing her motion

to amend the complaint once she became aware of the new information.” Bowers v. Am. Heart

Ass'n., Inc., 513 F. Supp. 2d 1364, 1368 (N.D. Ga. 2007). See also Scheidecker v. Arvig

Enterprises, Inc., 193 F.R.D. 630, 633 (D. Minn. 2000)

(“we look for ‘good cause,’ not for ‘superlative cause.’”).

         Here, Plaintiffs were diligent in bringing the concerns about MedFirst’s financial condition

to the Court in a prompt fashion, and in acting upon the new information they obtained. Plaintiffs’

Counsel had no indication, given MedFirst’s aggressive litigation tactics and sweeping discovery

requests, that the company was in any sort of financial trouble, and that it may be necessary to add

the company’s owner as a safeguard, prior to the summer of 2019. Plaintiffs’ Counsel also became

aware, only this week, of the possibility that MedFirst may be going out of business.

         Courts evaluating motions to amend both under Rule 16(b) and Rule 15(a) also inquire

whether a proposed amendment is futile. See Bowers, 513 F. Supp. 2d at 1368. Here, the proposed

amendment would not be futile because Mr. Smith is an additional source from which any

settlement or judgment in this case will be satisfied. Specifically, in the event that MedFirst ceases

operations, Mr. Smith will be the remaining Defendant available to fund a settlement or judgment.

Mr. Smith has indicated on his LinkedIn profile that he owns several million-dollar businesses

outside of MedFirst. Savytska Decl. Ex. 2. In sum, the proposed amendment is proper under Rule

16(b).



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       The proposed amendment is also warranted under Fed. R. Civ. P. 15(a). Conditional

certification was granted in this case in February 2018 and the opt-in period closed in June 2018.

While the parties have exchanged written discovery, no depositions have taken place in this case

to date, and the parties had agreed to stay all deadlines in the case to explore mediation, which was

originally scheduled for July 24 (which MedFirst called off); and stayed the case again for a

mediation session that took place on September 24. As such, Plaintiffs’ motion should be granted.

       Plaintiffs’ proposed amendment is timely. The significant events in this case to date have

been the order granting conditional certification and exchange of written discovery. No depositions

have been taken in this case to date, and class certification and summary judgment briefing is still

ahead. No significant further written discovery will be needed following the addition of Mr. Smith

as a Defendant, since the individual liability claims which Plaintiffs seek to add against Mr. Smith

are based on the same underlying events and facts alleged in the Plaintiffs’ original complaint.

       For similar reasons, MedFirst will not be prejudiced by the proposed amendment. The

discovery period in this case is still ongoing, and the only significant motion practice has been

related to the transfer of the case and Plaintiffs’ Motion to Conditional Certification. The

amendment sought by Plaintiffs will add MedFirst’s key figure – its CEO and president – to the

case. (Mr. Smith’s home is in fact the location of MedFirst’s corporate headquarters.) This

amendment should therefore come as no surprise.

       Plaintiffs’ amendment is made in good faith, in order to protect their claims, and those of

the Opt-in Plaintiffs, in this case. This case is still at a relatively early stage, and Plaintiffs’

proposed amendment will not cause any obstacles or delays that would justify denial of Plaintiffs’

motion. On the other hand, if Plaintiffs’ request is denied, they and the Opt-in Plaintiffs would

have no protection in the event MedFirst closes its doors or declares bankruptcy, an event that



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appears increasingly likely. The interests of justice therefore weigh in favor of granting Plaintiffs’

proposed amendment.

V.     CONCLUSION

       For the foregoing reasons, Plaintiffs’ Motion to Amend their Complaint to add Brian

Smith as a Defendant should be granted.

       Dated: October 24, 2019                        Respectfully Submitted,

                                                      _/s/Olena Savytska____________

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                                CERTIFICATE OF SERVICE

       I hereby certify that October 24, 2019, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system which will send notification of such filing to counsel for

Defendant.

                              _/s/Olena Savytska____________
                              Olena Savytska




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